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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Total Control Sports, Inc.
                                   Plaintiff,
v.                                                    Case No.: 1:17−cv−09281
                                                      Honorable Mary M. Rowland
Precision Impact
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 10, 2019:


        MINUTE entry before the Honorable Mary M. Rowland: Reassignment status
hearing set for 10/1/19 at 1:30pm in courtroom 1225. Parties are directed to review Judge
Rowland's Standing Order on Cases Reassigned to Judge Mary M. Rowland, on the
Court&#039;s website at https://www.ilnd.uscourts.gov/. Parties shall confer and file the
reassignment joint status report at least five business days in advance of the reassignment
status hearing. Mailed notice. (dm, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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web site at www.ilnd.uscourts.gov.
